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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHEN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


ATARAH MCCOY                                  §
                                              §
       Plaintiff,                             §
                                              §
vs.                                           §       CIVIL ACTION NO.: 4:23-CV-04127
                                              §       JUDGE CHARLES ESKRIDGE
                                              §
SHAULIS BOOKER AND                            §
TELAMON CORPORATION                           §
                                              §
       Defendants.                            §


                            PLAINTIFF’S TRIAL WITNESS LIST



       Plaintiff submits the following proposed exhibit list for consideration by the Court. Plaintiff

intends to offer each of the following exhibits.


NO.                    DESCRIPTION                         OFFR       OBJ              DATE
                                                                               ADMIT       N/ADMIT
P-1     River Oaks Hospital Medical Records

P-2     River Oaks Hospital Billing Records

P-3     Chopra Imaging Centers Billing Records
P-4     Greater Texas Orthopedic Associates Medical
        Records for May 25, 2023 through July 13,
        2023

P-5     Greater Texas Orthopedic Associates Billing
        Records for May 25, 2023 through July 13,
        2023
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NO.                  DESCRIPTION                       OFFR   OBJ           DATE
                                                                     ADMIT     N/ADMIT
P-6    Greater Texas Orthopedic Associates
       Medical Records for August 22, 2023
       through October 31, 2023


P-7    Greater Texas Orthopedic Associates Billing
       Records for August 22, 2023 through
       October 31, 2023


P-8    Greater Texas Orthopedic Associates Medical
       Records for August 22, 2023 through July 11,
       2024

P-9    Greater Texas Orthopedic Associates Billing
       Records for August 22, 2023 through July 11,
       2024

P-10   Memorial MRI Medical Records

P-11   Memorial MRI Billing Records

P-12   International Center for Neuroscience
       Medical Records


P-13   International Center for Neuroscience Billing
       Records


P-14   Adam Locketz, MD CV

P-15   Adam Locketz, MD Life Care Plan


P-16   Stan Smith CV


P-17   Stan Smith Economic Value Report

P-18   Texas Peace Officer’s Crash Report
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                                                           Respectfully Submitted,

                                                           DASPIT LAW FIRM

                                                           /s/ Kiernan McAlpine
                                                           Kiernan McAlpine
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                                                           Fed. Bar No. 1132611
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                                                           ATTORNEY FOR PLAINTIFFS


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy of the foregoing instrument was served on all
counsel of record in accordance with Rules 21 and 21a of the Federal Rules of Civil Procedure on
September 16, 2024.

                                                           /s/ Kiernan McAlpine
                                                           Kiernan McAlpine
